 Case 1:19-cr-00408-MKB Document 94 Filed 12/13/19 Page 1 of 2 PageID #: 745

                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York

SCJ                                              271 Cadman Plaza East
F. #2017R01691                                   Brooklyn, New York 11201



                                                 December 13, 2019

By Fed-Ex

Kevin J. Keating, Esq.                           Susan R. Necheles, Esq.
666 Old Country Road, Suite 900                  Kathleen E. Cassidy, Esq.
Garden City, New York 11530                      Hafetz & Necheles LLP
Attorney for Iskyo Aronov                        10 E. 40th St., 48th Fl.
                                                 New York, NY 10016
Gordon Mehler, Esq.                              Attorneys for Avraham Tarshish
Mehler Law Pllc
747 Third Avenue, 32nd Floor                     Todd D. Greenberg
New York, New York 10017-2803                    Addabbo & Greenberg
Attorney for Michael Konstantinovskiy            118-21 Queens Blvd. Suite 306
                                                 Forest Hills, NY 11375
Alan Futerfas, Esq.                              Attorney for Michael Herskowitz
Ellen Resnick, Esq.
The Law Offices of Alan S. Futerfas
565 Fifth Ave., 7th Floor
New York, NY 10017
Attorneys for Tomer Dafna


              Re:    United States v. Aronov et al.
                     Criminal Docket No. 19-408 (MKB)

Dear Defense Counsel:

               As reflected below, documents were provided to each of you via e-mail today
in accordance with Rule 16 of the Federal Rules of Criminal Procedure, and pursuant to the
protective order entered by the Court on December 3, 2019. The government also requests
reciprocal discovery. The government will continue to provide discovery on a rolling basis.
 Case 1:19-cr-00408-MKB Document 94 Filed 12/13/19 Page 2 of 2 PageID #: 746




 Defendant            BEGINNING BATES              ENDING BATES

 All defendants       EDNY-19CR408-000001          EDNY-19CR408-00068

 Aronov               EDNY-IA-00000001             EDNY-IA-00000004

 Konstantinovskiy     EDNY-MK-00000001             EDNY-MK-00000005

 Dafna                EDNY-TD-00000001             EDNY-TD-00000338

 Tarshish             EDNY-AT-00000001             EDNY-AT-00000097

 Herskowitz           EDNY-MH-00000001             EDNY-MH-00000010


             Also, please find enclosed a CD containing recordings made on or about and
between February 28, 2019 and April 2, 2019, bates-stamped EDNY-19CR408-00000069 to
EDNY-19CR408-00000074.

               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

               Please be advised that, pursuant to the policy of the Office concerning plea
offers and negotiations, no plea offer is effective unless and until made in writing and signed
by authorized representatives of the Office. In particular, any discussion regarding the
pretrial disposition of a matter that is not reduced to writing and signed by authorized
representatives of the Office cannot and does not constitute a “formal offer” or a “plea offer,”
as those terms are used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye,
132 S. Ct. 1399 (2012).

                                                   Very truly yours,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney

                                            By:     /s/
                                                   Shannon C. Jones
                                                   John Vagelatos
                                                   Assistant U.S. Attorneys
                                                   (718) 254-6379 (S. Jones)

Enclosures (1 CD)

cc:    Clerk of the Court (MKB) (by ECF) (without enclosure)
                                           2
